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                             Declaration of Subodh Chandra

I, Subodh Chandra, state as follows:

1.      I am over the age of 18 and competent to testify to the facts below based on
        personal knowledge.

2.      I am counsel for Defendant Stacy Hinners.

3.      On June 2, 2019, I served a demand for discovery on the State in the criminal
        prosecution of Mrs. Hinners.

4.      On June 5, 2019, Defendant Michael O’Shea provided a limited production. That
        production included several audio and video recordings of the May 14, 2019,
        meeting of the Huron City Council. Authentic copies of those productions are
        attached as Exs. A-1, A-2, A-3, A-4, A-5, and A-6.

5.      A compilation of those productions is attached as Ex. A-7.

6.      Also included in that production was a copy of the Huron Police Department’s
        report of its investigation into Stacy Hinners’s speech at the May 14 meeting. An
        authentic copy of that report is attached as Ex. A-8.

7.      Two months after serving a demand for discovery on the State, the State had not
        produced any records indicating why police belived that Stacy Hinners “did
        disrupt the City of Huron Council meeting.” The State provided no indication of
        what Ms. Hinners may have done until it filed its Opposition to the Motion for a
        Bill of Particulars, where it offered a conclusory assertion that Ms. Hinners didn’t
        adhere to “Presentation Protocol.”

8.      Because this was the first time I had ever heard of Council’s “Presentation
        Protocol,” my firm served a demand for discovery seeking access to that
        document on August 3. An authentic copy of that request is attached as Ex. A-9.

9.      Defendant O’Shea ignored that request.

10.     Ten days later, on August 13, my firm made a third discovery request, again
        asking for Council’s “Presentation Protocol.” An authentic copy of that request is
        attached as Ex. A-10.

11.     Assistant Prosecutor O’Shea’s response indicated that he was aware of only a
        general practice of city councils adopting “unwritten protocol on how they
        conduct meetings.” An authentic copy of that reply is attached as Ex. A-11.




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12.     In a separate conversation, Defendant O’Shea told me that he believed there was
        probable cause to prosecute Mrs. Hinners based on “her entire course of
        conduct” at the May 14, 2019, meeting.

13.     In a subsequent reply, Defendant O’Shea subsequently copies of meeting
        minutes, Huron’s city charter, and and Huron’s Administrative Code, none of
        which laid out any kind of “Presentation Protocol.” An authentic copy of that
        reply and the attached productions is attached as Ex. A-12.

14.     Because of the evidence of selective prosecution in retaliation for Mrs. Hinners’s
        exercise of her right to free speech, I wrote to Erie County Prosecutor Kevin
        Baxter on her behalf to request an investigation into the criminal interference
        with her civil rights. Authentic copies of those communications are attached as
        Exs. A-13 and A-14.

15.     As a result of that request, Prosecutor Kevin Baxter referred the matter to the Erie
        County Court of Common Pleas, which appointed Attorney General Dave Yost
        as a special prosecutor. An authentic copy of that referral is attached as Ex. A-15.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 11, 2019

                                           _________________________________________
                                           Subodh Chandra




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